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IN THE UNI'I‘ED STATES DISTRICT COURT mfg BYA D-c.
WESTERN DISTRICT OF TENNESSEE

 

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UNITED STATES oF AMERICA, _. US.DL$TWCTCGM
GFTN,§':‘F¥!PHS
vs. No. 05-20073-Mav

ARIANE GRANT,

Defendant.

 

ORDER OF 'I'RANSFER

 

Upon the oral motion of the parties, this defendant is
transferred to the court presiding over a related case in Which
this defendant is indicted. For good cause shown, the motion is
granted and the above-styled case, only as to the defendant
Ariane Grant, is hereby transferred to Judge Bernice Donald in
exchange for an equivalent case. The oosdefendants, Tiffany
Maxwell and Yulanda Jones Will remain assigned to Judge Mays.

It is so ORDERED this n Kday of July, 2005.

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT JUDGE

 

This doctment entered on the docket she t In com lience
with Hu|e 55 and/or 32tb) FRCrP on __MG"/ '

   

UNITED S`T"RATEDISTIC COURT -WESTER D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
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Honorable Samuel Mays
US DISTRICT COURT

